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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 OHANA MILITARY                 )            CIVIL NO. 18-00042 KJM
 COMMUNITIES, LLC and           )
 FOREST CITY RESIDENTIAL        )            ORDER DENYING PLAINTIFFS
 MANAGEMENT, LLC,               )            OHANA MILITARY
                                )            COMMMUNITIES, LLC AND
                Plaintiffs,     )            FOREST CITY RESIDENTIAL
                                )            MANAGEMENT, LLC’S EX PARTE
      vs.                       )            MOTION TO FILE UNDER SEAL
                                )            EXHIBITS 2-3 TO SEPARATE
 CARA BARBER,                   )            CONCISE STATEMENT OF FACTS
                                )            IN SUPPORT OF PLAINTIFFS
                Defendant.      )            OHANA MILITARY COMMUNITIES,
                                )            LLC AND FOREST CITY
                                )            RESIDENTIAL MANAGEMENT,
                                )            LLC’S MOTION FOR SUMMARY
                                )            JUDGMENT, AND TO PUBLICLY
                                )            FILE EXHIBIT 1 AND THE
                                )            UNREDACTED PLEADINGS
 _______________________________)

   ORDER DENYING PLAINTIFFS OHANA MILITARY COMMMUNITIES,
    LLC AND FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S EX
   PARTE MOTION TO FILE UNDER SEAL EXHIBITS 2-3 TO SEPARATE
  CONCISE STATEMENT OF FACTS IN SUPPORT OF PLAINTIFFS OHANA
    MILITARY COMMUNITIES, LLC AND FOREST CITY RESIDENTIAL
    MANAGEMENT, LLC’S MOTION FOR SUMMARY JUDGMENT, AND
   TO PUBLICLY FILE EXHIBIT 1 AND THE UNREDACTED PLEADINGS

       On January 23, 2019, Plaintiffs Ohana Military Communities, LLC and

 Forest City Residential Management, LLC (collectively, “Plaintiffs”) filed an Ex

 Parte Motion to File Under Seal Exhibits 2-3 to Separate Concise Statement of

 Facts in Support of Plaintiffs’ Motion for Summary Judgment, and to Publicly File
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 Exhibit 1 and the Unredacted Pleadings (“Motion to Seal”). ECF No. 74. On

 January 30, 2019, Defendant Cara Barber (“Defendant”) filed an Opposition to the

 Motion to Seal (“Opposition”). ECF No. 78. The Court did not allow for a reply.

       The Court held a hearing on the Motion to Seal on February 6, 2019

 (“02/06/2019 Hearing”). Randall C. Whattoff, Esq., appeared on behalf of

 Plaintiffs. P. Kyle Smith, Esq., and Bradford K. Bliss, Esq., appeared on behalf of

 Defendant. After carefully considering the memoranda, arguments, and record in

 this case, the Court DENIES Motion to Seal.

                                   BACKGROUND

 I.    The Underlying Litigation

       This case arises from a post-settlement dispute between Plaintiffs and

 Defendant in a separate lawsuit, Barber, et al. v. Ohana Military Communities,

 LLC, et al., CV 14-00217 HG-RLP (“Barber I”). After almost two years of

 litigation, the parties in Barber I reached a settlement, the essential terms of which

 they placed on the record on January 5, 2016. See Barber I, ECF No. 265. The

 parties also memorialized the settlement in a written Settlement Agreement and

 Release (“Settlement Agreement”). See Barber I, ECF No. 341 at 9. The

 Settlement Agreement contains a confidentiality provision.

       Subsequently, in June 2016, Plaintiffs alleged that Defendant breached the

 terms of the Settlement Agreement and filed a motion for relief from the court in

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 Barber I. In connection with their motion, and pursuant to the Settlement

 Agreement’s confidentiality provision, Plaintiffs also requested permission to file

 the Settlement Agreement under seal. The district court granted Plaintiffs’ request,

 finding that good cause existed to seal the Settlement Agreement. See Barber I,

 ECF No. 286 at 2. The parties are still involved in post-settlement litigation in

 Barber I.

 II.   The Present Action

       On January 31, 2018, Plaintiffs filed their Complaint against Defendant.

 ECF No. 1. Plaintiffs’ Complaint asserts claims against Defendant arising out of

 statements she allegedly made on social media and the Internet regarding Plaintiffs

 and the underlying subject matter at issue in Barber I. See id. at ¶¶ 31-53.

 Plaintiffs allege that Defendant made these statements between April and June

 2016, after the parties entered into the Settlement Agreement, and that such

 statements are false and defamatory. See id. at ¶¶ 41-48.

       On May 31, 2018, Defendant filed a Counterclaim against Plaintiffs,

 alleging that Plaintiffs breached the Settlement Agreement and engaged in other

 misconduct. ECF No. 19-1. Plaintiffs subsequently filed a Motion to Dismiss

 Defendant’s Counterclaim (“Motion to Dismiss”). ECF No. 27. The

 memorandum and exhibits in support of the Motion to Dismiss contained redacted

 recitations of the Settlement Agreement’s confidentiality provision. Plaintiffs thus

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 filed a motion to filed under seal unredacted copies of such documents. On July 6,

 2018, the Court issued an order granting Plaintiff’s request to seal the documents,

 finding good cause existed for purposes of the Motion to Dismiss (“07/06/2018

 Order”). See ECF No. 33 at 2. In doing so, however, the Court also cautioned the

 parties that it “may reach a different conclusion on summary judgment or at trial.”

 Id.

       On November 30, 2018, this Court issued an order granting in part and

 denying in part the Motion to Dismiss (“11/30/2018 Order”), dismissing all claims

 asserted in the Counterclaim except Defendant’s breach of contract claim against

 Plaintiff Ohana Military Communities, LLC (“Ohana”). ECF No. 51. The

 11/30/2018 Order, which the Court issued as a public document, quotes an excerpt

 of the confidentiality provision. Pursuant to the 11/30/2018 Order, the only

 remaining claim in the Counterclaim is Defendant’s breach of contract claim

 against Ohana.

       The Counterclaim alleges that the United States Navy (“Navy”) and Plaintiff

 Forest City Residential Management, LLC (“Forest City”) are co-owners of

 Ohana. Id. at ¶ 19. The Counterclaim alleges that, in 2017 or 2018, the Navy

 disclosed the terms of the Settlement Agreement, including the settlement amount,

 to Reuter’s News Service (“Reuter’s”) in response to a request from Reuter’s under

 the Freedom of Information Act (“FOIA”). Id. at ¶ 20. The Counterclaim alleges

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 that, because the Navy is an LLC member of Ohana, the Navy’s disclosure of the

 Settlement Agreement constituted a breach of confidentiality provision of the

 Settlement Agreement by Ohana.

       On January 23, 2019, Plaintiffs filed a Motion for Summary Judgment

 (“MSJ”) and Separate Concise Statement of Facts in Support of the MSJ

 (“CSOF”), seeking summary judgment as to Defendant’s Counterclaim. ECF

 Nos. 72, 73. Plaintiffs redacted the MSJ and CSOF to omit the quoted excerpts

 from the confidentiality provision. That same day, Plaintiffs filed the Motion to

 Seal, which concerns Exhibit 1, Exhibit 2, Exhibit 3, Exhibit 5, and Exhibit 6 to the

 CSOF. ECF No. 74.

                                    DISCUSSION

 I.    Exhibit 2 and Exhibit 3

       Plaintiffs’ Motion to Seal asks the Court to allow Plaintiffs to file under seal

 Exhibit 2 and Exhibit 3 to the CSOF. Exhibit 2 is a copy of the Settlement

 Agreement and Exhibit 3 is a memorandum regarding the Settlement Agreement

 (“Settlement Memo”). In both Exhibit 2 and Exhibit 3, Plaintiffs have also

 redacted the amount Plaintiffs paid Defendant as consideration for the Settlement

 Agreement (“consideration amount”).

       Based on the “general right to inspect and copy public records and

 documents, including judicial records and documents,” there is a “strong

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 presumption” in favor of maintaining public access to judicial records that are not

 of a type “traditionally kept secret for important policy reasons.” Kamakana v.

 City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). This strong

 presumption “applies fully to . . . motions for summary judgment and related

 attachments.” Id. at 1179.

       A party seeking to seal attachments to a dispositive motion “bears the

 burden of overcoming this strong presumption by meeting the ‘compelling

 reasons’ standard.” Id. at 1178. In doing so, the party “must ‘articulate

 compelling reasons supported by specific factual findings’ that outweigh . . . public

 policies favoring disclosure.” Id. at 1178-79 (quoting Foltz v. State Farm Mut.

 Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). In other words, “conclusory

 offerings” regarding a document’s confidentiality, standing alone, “do not rise to

 the level of ‘compelling reasons’ sufficiently specific to bar the public access to the

 documents.” Id. at 1182. The “compelling reasons” standard applies “even if the

 dispositive motion, or its attachments, were previously filed under seal or

 protective order.” Id. at 1179. “In general, ‘compelling reasons’ sufficient to

 outweigh the public’s interest in disclosure and justify sealing court records exist

 when such ‘court files might have become a vehicle for improper purposes,’ such

 as the use of records to gratify private spite, promote public scandal, circulate




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 libelous statements, or release trade secrets.” Id. (other citation omitted) (quoting

 Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 n.7 (1978)).

       The Court finds that Plaintiffs fail to demonstrate “compelling reasons”

 under Kamakana to seal the Settlement Agreement, or any portion thereof, for the

 reasons set forth below.

       A.     Plaintiffs Fail to Articulate Compelling Reasons to Seal the
              Settlement Agreement

       Plaintiffs fail to articulate compelling reasons based on specific facts that

 justify sealing the Settlement Agreement from public access. Plaintiffs allege that

 Defendant has “engaged in a coordinated campaign with her attorneys to

 improperly recruit new plaintiffs for new lawsuits against [Plaintiffs].” ECF No.

 74-1 at 9. Plaintiffs contend that “[i]f all of the terms of the Settlement Agreement

 are publicly released, it could be used as part of this campaign.” Id. at 10.

 Plaintiffs thus argue that preventing Defendant and her attorneys from using the

 Settlement Agreement to recruit new plaintiffs for new lawsuits is a compelling

 reason to seal the Settlement Agreement.

       In Kamakana, however, the Ninth Circuit expressly stated that “[t]he mere

 fact that the production of records may lead to a litigant’s embarrassment,

 incrimination, or exposure to future litigation will not, without more, compel the

 court to seal its records.” Kamakana, 447 F.3d at 1179 (emphasis added) (citing

 Foltz, 331 F.3d at 1136). Thus, pursuant to Kamakana, Plaintiffs’ concern that
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 public disclosure of the Settlement Agreement will expose Plaintiffs to future

 litigation, without more, is not a compelling reason to seal the Settlement

 Agreement.

       Plaintiffs also argue that sealing the Settlement Agreement is appropriate

 because only the confidentiality provision is relevant to the MSJ. 1 See ECF

 No. 74-1 at 10-11. In support of this argument, Plaintiffs cite to Salazar v. Sysco

 Cent. Cal., Inc., No. 1:15-cv-01758-DAD-SKO, 2017 WL 68114 (E.D. Cal. Jan. 5,

 2017). In Salazar, the parties filed a joint stipulation and motion, asking the

 district court for approval of the parties’ settlement pursuant to California’s Private

 Attorney General Act (“PAGA”). 2017 WL 68114, at *1. The district court

 ordered the parties to file a copy of the fully executed settlement agreement for the

 court’s review and approval. Id. The parties subsequently filed a joint motion to

 “seal portions of the settlement agreement not relevant to the court’s consideration

 and approval.” Id. The district court granted the parties’ request to seal portions of

 the settlement agreement, finding that such portions were “not relevant to the

 settlement of the plaintiff’s PAGA claims.” Id. at *2. The district court stated:

 “Thus, but for plaintiffs’ PAGA claims, the parties would have had no reason to




 1
   Plaintiffs’ Motion to Seal also requests leave to publicly file a copy of the
 confidentiality provision as Exhibit 1 to the CSOF. The Court addresses this
 request below.
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 submit these portions of the agreement for court approval, or otherwise publicly

 disclose those terms.” Id.

         Salazar is distinguishable, however, because it involved a request to seal a

 settlement agreement that resolved the litigation, whereas Plaintiffs request to seal

 the Settlement Agreement for purposes of their MSJ. Plaintiffs cite no other case

 law or specific facts to support their request to seal the Settlement Agreement

 simply because the provisions therein, with the exception of the confidentiality

 provision, are allegedly irrelevant to the MSJ. Thus, the Court is not persuaded

 that the purported irrelevance of provisions in a settlement agreement that was

 born out of a separate action constitutes a compelling interest to seal such

 provisions in connection with a motion for summary judgment.

         Based on the foregoing, the Court finds that Plaintiffs fail to articulate

 compelling reasons based on specific facts to seal the Settlement Agreement for

 purposes of such MSJ that outweigh public policies favoring disclosure. The Court

 thus denies the Motion to Seal as to Plaintiffs’ request to seal Exhibit 2 to the

 CSOF.

       B.     Plaintiffs Fail to Articulate Compelling Reasons to Seal Only the
              Consideration Amount in the Settlement Agreement and Settlement
              Memo

       Plaintiffs contend that even if the Court is not inclined to seal the entire

 Settlement Agreement, there are compelling reasons to seal the consideration

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 amount. In support of this contention, Plaintiffs cite to three cases where courts

 granted parties’ requests to seal consideration amounts in filed settlement

 agreements. See ECF No. 74-1 at 12-14 (citing Resoso v. Clausing Indus., Inc.,

 Case No. 2:14-cv-00102-RFB GWF, 2019 WL 131834 (D. Nev. Jan. 8, 2019);

 Johnson v. Bank of Am. NA, No. CV-16-04410-PHX-JJT, 2017 WL 9988653 (D.

 Ariz. May 30, 2017); Hummel v. Bimbo Bakeries USA, Inc., Case No. 14-cv-

 03683-JSC, 2015 WL 13738406 (N.D. Cal. Sept. 21, 2015)). Plaintiffs’ cited cases

 are distinguishable from this case.

       Like Salazar, the decisions in Resoso, Johnson, and Hummel concerned

 requests to file under seal a settlement agreement at the concluding stage of

 litigation, in relation to the parties’ request for court approval of the settlement

 agreement. See Resoso, 2019 WL 131834, at *1; Johnson, 2017 WL 9988653, at

 *1; Hummel, 2015 WL 13738406, at *1. By contrast, Plaintiffs seek to seal the

 consideration amount at the summary judgment stage, where the Settlement

 Agreement was reached in Barber I, a separate, underlying case. Stated

 differently, the settlement agreements at issue in Plaintiffs’ cited cases resolved

 claims, whereas the Settlement Agreement in this case is the subject of dispute in

 Plaintiffs’ MSJ. Absent a compelling reason to seal part of a judicial record, the

 public is entitled to access for the benefit of understanding the judicial process on

 motions for summary judgment. See Kamakana, 447 F.3d at 1179 (recognizing

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 that a party seeking to seal a document attached to a dispositive motion must

 demonstrate compelling reasons “that outweigh the general history of access and

 the public policies favoring disclosure, such as the public interest in understanding

 the judicial process” (internal quotation marks and citation omitted)).

       In addition, the Court notes that Johnson and Hummel discussed the

 compelling interests in sealing the settlement amount in a Fair Labor Standards Act

 (“FLSA”) matter. See Johnson, 2017 WL 9988653, at *2; Hummel, 2015 WL

 13738406, at *3. Neither this case nor Barber I involve FLSA claims. Based on

 the foregoing, the Court finds that Resoso, Johnson, and Hummel are inapplicable

 and do not support Plaintiffs’ request to seal only the consideration amount in the

 Settlement Agreement.

       Furthermore, the Court finds that the consideration amount has already been

 publicly disclosed in three significant ways. First, as Defendant alleges in her

 Counterclaim, Ohana (through its LLC member, the Navy) “sent documents

 describing the terms of the [Settlement Agreement], including the settlement

 amount . . .” to Reuter’s. ECF No. 19-1 at ¶ 20. Second, a copy of the Settlement

 Memo, which indicates the consideration amount, was available for viewing and

 download by the public on a FOIA website. See ECF No. 78 at 6; ECF No. 78-1.2


 2
    At the hearing on the Motion to Seal, Plaintiffs’ counsel represented to the Court
 that, pursuant to counsel’s request and efforts, the Navy removed the Settlement
 Memo from the FOIA website on February 5, 2019, the day before the hearing.
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 Third, Defendant publicly filed her Opposition, which includes a copy of the

 Settlement Memo from the FOIA website. See ECF No. 78 at 10, ¶ 2.

       Plaintiffs do not dispute that the consideration amount has been disclosed to

 Reuter’s. Indeed, Plaintiffs’ MSJ all but concedes that the Navy disclosed the

 consideration amount in response to a FOIA request from Reuter’s. See ECF

 No. 72-1 at 22. Plaintiffs contended at the 02/06/2019 Hearing, however, that

 there is nothing to indicate Reuter’s has disclosed or will further disclose the

 consideration amount to the general public. Plaintiffs also contended at the

 02/06/2019 Hearing that the Navy removed the Settlement Memo from the FOIA

 website and Defendant’s Opposition has only been available on the court’s docket

 for approximately one week. Plaintiffs thus argued that, although the consideration

 amount has entered the public domain, the number of people that actually accessed

 the FOIA website and/or the court’s docket to view the Settlement Memo is likely

 limited.

       The Court finds Plaintiffs’ contentions regarding the alleged limited

 dissemination of the consideration amount to the public to be pure hypothesis and

 conjecture. Pursuant to Kamakana, the Court cannot rely on hypothesis or

 conjecture in determining whether compelling reasons exist to seal the

 consideration amount. See Kamakana, 337 F.3d at 1179 (“[I]f the court decides to

 seal certain judicial records, it must ‘base its decision on a compelling reason and

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 articulate the factual basis for its ruling, without relying on hypothesis or

 conjecture.”’ (quoting Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir.

 1995))). The Court also notes that, despite their assertions regarding the need to

 preserve confidentiality of the consideration amount, Plaintiffs did not and have

 not taken any steps to seal the Settlement Memo attached to Defendant’s

 Opposition.

       In sum, Plaintiffs fail to articulate compelling reasons based on specific facts

 that outweigh public policies favoring disclosure. Nor does the Court, on its own,

 believe that it can make specific factual findings based on the record to support

 compelling reasons to seal the consideration amount, especially given that it has

 already entered the public domain. The Court thus denies the Motion to Seal as to

 Plaintiffs’ request to seal only the consideration amount in Exhibit 2 and Exhibit 3

 to the CSOF.

 II.   Exhibit 1, Exhibit 5, and Exhibit 6

       Plaintiffs’ Motion to Seal also asks the Court to allow Plaintiffs to publicly

 file Exhibit 1, Exhibit 5, and Exhibit 6 to the CSOF, which quote excerpts from the

 confidentiality provision. In light of the Court’s ruling above that Plaintiffs fail to

 establish compelling reasons to seal any part of the Settlement Agreement for

 purposes of the MSJ, the Court denies as moot the Motion to Seal’s request as to

 Exhibit 1, Exhibit 5, and Exhibit 6.

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                                       CONCLUSION

        Based on the foregoing, the Court DENIES the Motion to Seal as outlined

 above. The Court will permit Plaintiffs two weeks, until February 28, 2019, to:

 (i) publicly file Exhibit 2 and Exhibit 3 to the CSOF; (ii) withdraw their MSJ and

 CSOF; or (iii) take other action Plaintiffs deem appropriate.

        IT IS SO ORDERED.

        DATED: Honolulu, Hawaii, February 14, 2019.



                                         Kenneth J. Mansfield
                                         United States Magistrate Judge



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